
Upon consideration of the petition for discretionary review, filed by Defendant (Profile Products) on the 15th day of September 2006 in this matter pursuant to G.S. 7A-31 and the Appellate Rule 16(b) as to issues in addition to those presented as the basis for the dissenting opinion in the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the petition for discretionary review as to additional issues is
"Allowed by order of the Court in conference, this the 16th day of November 2006."
Accordingly, the new brief of the Defendant (Profile Products) shall be filed with this Court not more than 30 days from the date of certification of this order.
Defendant (Profile Products) shall forthwith submit an appeal bond to this Court, as provided by Appellate Rule 17(b). The bond may be in cash or by a written undertaking with good and sufficient surety in the sum of $250.00.
